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                                                                                    2017 May-04 PM 03:56
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

DOSTER CONSTRUCTION                            )
COMPANY, INC.,                                 )
                                               )
                     Plaintiff,                )
                                               )         CASE NO.
v.                                             )         _______________
                                               )
ABM STUCCO, INC.,                              )
                                               )
                     Defendant.                )


                     COMPLAINT FOR DECLARATORY JUDGMENT

               For its Complaint, plaintiff Doster Construction Company, Inc. (“Doster”)

states the following:

                                            Parties

               1.    Plaintiff Doster is a corporation organized and existing under

Alabama law. Doster maintains its principal place of business in Jefferson County,

Alabama.

               2.    Defendant ABM Stucco, Inc. (“ABM”) is a corporation organized and

existing under Florida law. ABM maintains its principal place of business in

Florida.




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                                        Subject Matter Jurisdiction

               3.       This Court has original subject matter jurisdiction to adjudicate this

action by virtue of 28 U.S.C. § 1332. Plaintiff Doster and defendant ABM are

citizens of different states, and the amount in controversy exceeds $75,000.00,

excluding interest and costs. Paragraphs 8 - 14 and 16 - 20 below are incorporated

by reference.

                                     Personal Jurisdiction And Venue

               4.       As is more specifically set out below, defendant ABM has irrevocably

consented and submitted to the personal jurisdiction of this Court, and has made a

binding contractual agreement with Doster that the exclusive venue for

adjudication of the disputes that are the subject of this Complaint shall be a federal

or state court situated in Jefferson County, Alabama.

               5.       The case and controversy that is the subject of this action arises from

a written subcontract dated February 18, 2014, between Doster and ABM (the

“ABM Subcontract”) that was made in Alabama and contains the following terms:

                    45. Governing Law. This Subcontract is deemed by the parties to have
                    been made in Alabama without regard to the place(s) or order of execution.
                    The terms and conditions of this Subcontract shall be construed and
                    interpreted under, and the respective rights, duties, and obligations of the
                    parties shall be governed by, the law of Alabama, without regard to
                    Alabama’s conflicts of law rules or principles.

                    46. Dispute Resolution. . . . Any litigation arising out of the Subcontract
                    or the Work shall be brought only in a state or federal court situated in
                    Jefferson County, Alabama, which courts shall be the exclusive venues for
                    any such litigation . . . Subcontractor [ABM] irrevocably consents to the

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                    jurisdiction and venue of any state or federal court situated in Jefferson
                    County, Alabama.

The ABM Subcontract was executed by Doster in Jefferson County, Alabama on

April 15, 2014, after execution by ABM on April 14, 2014. A true and correct copy

of the ABM Subcontract (other than documents it incorporates by reference) is

attached as Exhibit A.

               6.       The substantive law of Alabama governs the interpretation,

construction, and enforcement of the ABM Subcontract, and the substantive law of

Alabama governs all of the respective rights, obligations, duties, and liabilities of

Doster and ABM that are at issue in this action.

               7.       In the ABM Subcontract, ABM irrevocably consented and submitted

to the personal jurisdiction and venue of this Court, and agreed that the exclusive

venue for adjudication of any disputes between Doster and ABM that arise out of

the ABM Subcontract or out of any work, equipment, materials, or services

provided in connection with the ABM Subcontract shall be a federal or state court

situated in Jefferson County, Alabama.

                                                     Facts

               8.       Doster entered into the ABM Subcontract for work, materials,

products, and services required for construction of a retail/apartment development

known as 220 Riverside (the “Riverside Project”).                          Doster was the general

contractor for construction of the Riverside Project. The work, materials, products,

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and services to be provided by ABM pursuant to the ABM Subcontract (the “ABM

Work”) are generally described as stucco siding, trim, and accessories.

               9.    After ABM installed the ABM Work, the owner of the Riverside

Project, HP-MAA Riverside, LLC (“MAA Riverside”), engaged a building

envelope expert, Moisture Intrusion Solutions, Inc. (“MIS”), to investigate and

evaluate the installation of various components of the exterior envelope of the

Riverside Project, including the stucco siding and control/expansion joints installed

by ABM.

               10.   MIS issued reports identifying defects, deficiencies, and non-

conformities in the ABM Work. These included: (a) failure to comply with

specified installation details at the base of podium deck walls; and (b) improper

installation of expansion/control joints in exterior stucco surfaces. Doster promptly

notified ABM of MIS’s findings.

               11.   ABM failed to satisfactorily rebut the MIS findings of defects,

deficiencies, and non-conformities in the ABM Work. The estimated costs to

remediate the MIS-identified defects, deficiencies, and non-conformities in the

ABM Work were substantial, as were the risks of additional liability and damages

inherent in any such remediation.

               12.   Doster expended substantial sums (including attorneys’ fees) to

investigate and evaluate the MIS findings with respect to the ABM Work and

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ABM’s responses. Then, in order to mitigate further losses and damages, Doster

successfully negotiated a $100,000 deduction from the contract balance otherwise

owed by MAA Riverside to Doster in exchange for a release from further

responsibility or liability for defects, deficiencies, and non-conformities identified

in MIS reports. Most of this deduction was attributable to defects, deficiencies, and

non-conformities in the ABM Work that had been identified by MIS.

               13.    On October 23, 2015, ABM submitted a sworn “Subcontractor’s

Release, Waiver Of Lien and Affidavit” (the “ABM Affidavit And Release”)

representing (on Line 11) that the total amount due ABM was $95,445.00. The

ABM Affidavit And Release further stated:

                      4.     Upon Subcontractor’s receipt of the amount shown as
                 currently due on Line 11 of the Application, as acknowledged by
                 Subcontractor’s endorsement and negotiation of Doster’s check in
                 said amount, Subcontractor releases and discharges Doster, the owner
                 of the Project, and their respective sureties, officers, directors, agents,
                 and employees (hereinafter collectively referred to as “Releasees”)
                 from any and all claims, debts, disputes, causes of action and
                 controversies both known and unknown (except retainage shown on
                 this Application): (a) arising in any way from, or on account of
                 Subcontractor’s performance of work or furnishing of materials for
                 the Project through the end of the period for which this Application is
                 submitted; or (b) that have otherwise accrued or arisen (in whole or in
                 part) on or before said date. Subcontractor acknowledges that, except
                 as shown on this Application, no other amounts are or will become
                 due on account of work, materials, or costs furnished or incurred
                 through the end of the period for which this Application is submitted.

The ABM Affidavit And Release also represented that the total remaining

retainage under the ABM Subcontract was $83,130.80. On or about January 12,


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2016, Doster paid to ABM the $95,445.00 that was represented by ABM on Line

11 of the ABM Affidavit And Release to be the total amount due. A true and

correct copy of the ABM Affidavit And Release is attached as Exhibit B.

               14. Notwithstanding the MIS-identified defects, deficiencies, and non-

conformities in the ABM Work and the substantial cost, expense, loss, and damage

that Doster incurred as a result, and notwithstanding the ABM Affidavit And

Release, ABM has demanded in writing that Doster pay an additional $133,512.70

to ABM under the ABM Subcontract. For its calculation of the payment amount

demanded, ABM first started with an alleged (and erroneous) subcontract balance

that substantially exceeds the actual balance determined by subtracting payments

made by Doster from the Subcontract Price of the ABM Subcontract as adjusted by

Change Orders, and also exceeds the balance represented by ABM in the ABM

Affidavit And Release. ABM then improperly added: (a) amounts claimed to be

due for alleged extra and additional work and services that are not covered by any

Change Order to the ABM Subcontract; and (b) amounts previously deducted from

the Subcontract Price by deductive Change Orders unrelated to the MIS-identified

defects,          deficiencies,   and   non-conformities   summarized   above.   ABM’s

$133,512.70 written demand also fails to account for the MIS-identified defects,

deficiencies, and non-conformities in the ABM Work or the substantial cost,




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expense, loss, and damage that Doster incurred as a result. Doster does not owe

ABM the amount demanded by ABM.

               15.   Applicable terms of the ABM Subcontract include, but are not limited

to:

                     1.      The Work. Subcontractor agrees to furnish all labor, materials,
                 equipment, services, documents and facilities (including scaffolding and
                 hoisting) necessary for the satisfactory completion and acceptance of the
                 work described below (the “Work”) for the 12-2-05 220 Riverside (the
                 “Project”) which is being constructed under a contract dated 11/2/2012, (the
                 “Prime Contract”) between Contractor and HP-MAA Riverside, LLC (the
                 “Owner”) according to plans and specifications prepared by Studio9
                 Architecture, LLC (the “Architect”). The Work includes: See Exhibit A. .
                 ..

                      2.      The Prime Contract. The Prime Contract includes the
                 Agreement between Contractor and Owner (including all general, special,
                 and supplemental terms and conditions), as well as all addenda,
                 modifications, revisions, drawings, specifications, and details; all
                 documents, standards, codes, and regulations referenced in the Prime
                 Contract; and any other documents that are or become a part of the Prime
                 Contract. The Prime Contract is incorporated by reference into this
                 Subcontract. . . . Subcontractor is obligated to Contractor for the Work to
                 the full extent that Contractor is obligated under the Prime Contract for the
                 Work, and Subcontractor assumes all obligations of Contractor arising from
                 or under the Prime Contract with respect to the Work. . . .
                                                    * * *
                     4.       Retainage And Withholding. Payments to Subcontractor are
                 subject to retainage to the same extent as payments by Owner to Contractor.
                 In addition to such retainage, Contractor may also withhold part or all of
                 any progress or final payment to the extent reasonably necessary to protect
                 Contractor from any loss that might arise from: (a) any Work unacceptable
                 to Contractor, Owner, or Architect; (b) existing or anticipated claims
                 against Contractor arising from the Work; . . . and (e) failure by
                 Subcontractor to strictly comply with any requirement of this Subcontract. .
                 . .
                                                     * * *
                      5.     Payment Conditions. The following conditions precedent
                 must all be satisfied before any progress or final payment can become due.
                 Contractor has no obligation to make payment to Subcontractor unless and
                 until each of these conditions precedent has been satisfied: (a)

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               Subcontractor has timely submitted a properly completed Application for
               Payment; . . . (d) Contractor has received payment from Owner in the
               amount applied for by Subcontractor or claimed by Subcontractor to be due
               (Subcontractor assumes the risk of Owner’s inability or refusal to pay); . . .
               (f) Subcontractor has furnished, for itself and from each of its
               subcontractors and materialmen, releases and waivers of liens and claims
               that comply with the requirements of Paragraph 10 below; (g) if requested
               by Contractor, Subcontractor has furnished a signed written consent from
               Subcontractor’s surety to such payment; and (h) with respect to final
               payment, Subcontractor has furnished an Affidavit and Final Release and
               Waiver of Liens and Claims that is satisfactory to Contractor. Payment to
               Subcontractor cannot become due until ten (10) business days after the
               foregoing conditions precedent have all been satisfied.

                                                  * * *
                   6.      Effect of Payment. No payment to Subcontractor constitutes
               acceptance of any part of the Work or an acknowledgment that the Work
               has progressed to the extent shown on Subcontractor’s Application for
               Payment. Subcontractor’s acceptance of a progress payment or final
               payment releases Contractor from all liability (except retainage) arising
               from any Work performed (including Changes), or conditions or events
               occurring, before the date of the Application for Payment on which the
               payment is made.

                    7.      Final Billing. . . . Subcontractor’s final Application for
               Payment, including amounts requested for Changes, must be submitted
               within thirty (30) days after completion of the Work. Failure to submit a
               final Application for Payment within such time constitutes a waiver of and
               forfeiture of any right to receive any further payment.

                                                  * * *
                    11.     Site Conditions And Existing Work. . . . Subcontractor is
               responsible for coordinating its Work with the work of Contractor and
               others. Before proceeding with any Work, Subcontractor shall thoroughly
               inspect (including field measuring) all existing work by Contractor or others
               that is related to Subcontractor’s Work to determine whether any defects,
               nonconformities, or discrepancies in such existing work may adversely
               affect Subcontractor’s Work. Such inspection shall be performed with the
               greatest degree of skill and care generally employed by the most
               experienced and qualified subcontractors in Subcontractor’s trade.
               Subcontractor shall notify Contractor in writing of any defects,
               discrepancies, or nonconformities detected by Subcontractor, and shall not
               proceed with any affected Work without first receiving specific written
               instructions from Contractor. Subcontractor shall be responsible and liable
               for all costs and damages arising from Subcontractor’s failure to comply
               with the above requirements.

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                                                  * * *
                  16.      Changes. Contractor may . . . direct changes, additions, and/or
               deletions to Work, or direct extra work (all of the foregoing are referred to
               as “Change(s)”). Regardless of whether a Change is initiated by written or
               oral authorization, direction, interpretation, determination, or any other
               form of words or conduct, Contractor shall be obligated to pay
               Subcontractor an amount in excess of the Subcontract Price and/or adjust
               the Schedule on account of a Change only if the following conditions
               precedent have all been satisfied:

                   (a) before Subcontractor proceeds with the Change: (i) Contractor
                   authorizes the Change in a signed written directive explicitly
                   designated as a Change Order or (ii) Subcontractor delivers to
                   Contractor a written notice specifically describing in detail the nature
                   and scope of the work that Subcontractor contends is a Change, and
                   describing in detail the basis of Subcontractor’s claim that such work
                   constitutes a Change, and after receipt of such written notice,
                   Contractor specifically and explicitly directs the Subcontractor in
                   writing to proceed with the Change; . . .
                                                     * * *
                    18.     Warranty. Subcontractor warrants the Work to Contractor
               under the same terms and for at least the same period as Contractor has
               warranted the Work. Subcontractor assumes and shall perform all warranty
               obligations of Contractor that relate to the Work . . . In addition,
               Subcontractor warrants that the Work will be performed in strict accordance
               with all terms of this Subcontract and in conformity with the best practices
               of the construction industry . . . . Subcontractor further warrants and agrees
               that it will exercise due care in the performance of the Work, and will
               execute the Work in a non-negligent manner. . . .

                     All Work is subject to approval by Owner. If any part of the Work is
               determined to be defective or otherwise to constitute a breach of any of
               Subcontractor’s warranties, Subcontractor, at its own expense, shall
               promptly correct or replace the same (as directed by Owner), and shall
               repair or replace any other work, materials, or property damaged or required
               to be redone as a result of such correction or replacement. Nothing in this
               Paragraph may be interpreted to restrict Contractor’s remedies, or the
               liability of Subcontractor . . . for any breach of Subcontractor’s warranties.
               . . .
                                                    * * *
                    30.      Indemnity. . . . Subcontractor shall defend and indemnify
               Contractor [and others] . . . (collectively, the “Indemnitees”) against all
               liabilities, claims, . . . damages, . . . and expenses (collectively
               “Indemnified Losses”) including, but not limited to, attorneys’ fees, that
               arise in any way, directly or indirectly, out of any actual or alleged failure

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                by Subcontractor (or any of its sub-subcontractors, materialmen, or agents
                of any tier, or any of their respective employees) to: . . . ; (b) strictly
                comply with any applicable laws, regulations, rules, building codes, and
                industry standards; (c) exercise reasonable care in the performance of the
                Work and in conducting any other activities at or for the Project; or (d)
                strictly comply with the requirements of this Subcontract. Subcontractor’s
                obligation to defend and to indemnify the Indemnitees shall not be
                diminished or excused merely because the negligence or other breach of a
                legal duty (other than gross negligence, or willful, wanton, or intentional
                misconduct) on the part of any Indemnitee also contributed to the
                Indemnified Loss, except that Subcontractor’s indemnification obligation
                may be proportionately reduced with respect to any Indemnitee if and to the
                proportionate extent that the Indemnified Loss is adjudicated to have been
                caused by independent and affirmative negligence of such Indemnitee in
                connection with an activity or condition for which Subcontractor has no
                responsibility or involvement whatsoever by virtue of the Subcontract or
                otherwise. . . .
                                                     ***
                     34.    Default And Notice To Cure. If Subcontractor . . . furnishes
                deficient or defective work or materials;. . . or otherwise fails to strictly
                comply with any requirement of this Subcontract, then Subcontractor is in
                default. The foregoing events and occurrences are referred to as “Events of
                Default. . . .
                                                   ***
                     36.     Liability For Contractor’s Damages. Without restricting
                Contractor’s other rights and remedies under this Subcontract or applicable
                law, Subcontractor . . . shall be liable to Contractor for all costs, expenses,
                losses, and damages (including reasonable attorney’s fees) resulting from
                any Event of Default or Contractor’s exercise of any rights or remedies
                provided in Paragraphs 34 and 35. No act or failure to act by Contractor
                (including any failure to exercise the rights provided in Paragraphs 34 and
                35) shall relieve Subcontractor . . . from any such liability.
                                                     * * *
                      42.    Claims. Regardless of whether Contractor has actual or
                constructive notice of any claim of Subcontractor for additional
                compensation, time, or other consideration, Subcontractor agrees that such
                claim is waived and forfeited unless it is set forth in detail in a written
                notice to Contractor, and delivered to Contractor as soon as practicable in
                the circumstances, but in any event no later than seven (7) days after the
                first occurrence of any of the conditions out of which such claim arises.

                                                     ***
                     44.      Expenses And Attorney’s Fees. In the event Contractor
                initiates a suit . . . against Subcontractor . . . to enforce any of Contractor’s

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                 rights or remedies under this Subcontract . . . , and Contractor obtains any
                 substantial portion of the relief requested by Contractor . . . , then
                 Subcontractor . . . shall be liable for all of Contractor’s costs and expenses,
                 including attorney’s fees, expert fees, and court costs. In addition,
                 Subcontractor . . . shall be liable to Contractor for, and shall defend and
                 indemnify Contractor against, all damages, costs, judgments, fines,
                 citations, assessments or expenses, including attorney’s fees, incurred by
                 Contractor as a result of Subcontractor’s failure to strictly comply with any
                 term or requirement of this Subcontract.

                              Claim And Demand For Declaratory Judgment

               16.   Paragraphs 1 through 15 above are incorporated by reference.

               17.   A present, justiciable, and actual controversy now exists between

Doster and ABM concerning ABM’s liability for Doster’s costs, expenses, and

damages and the amount, if any, owed by Doster to ABM on account of the ABM

Subcontract and the ABM Work. All conditions precedent to ABM’s obligations

and liabilities to Doster have been satisfied or excused.

               18.   Under Paragraphs 4, 18, 30, 34, 36, and 44 of the ABM Subcontract,

Doster is entitled to recover, off-set, and recoup from ABM all costs, expenses

(including attorneys’ fees), losses, and damages incurred by Doster as a result of,

or in connection with, the MIS-identified defects, deficiencies, and non-

conformities in the ABM Work.

               19.   Under Paragraphs 5, 16, and 42, of the ABM Subcontract, express

conditions precedent to any right of ABM to payment of amounts demanded by

ABM have not been satisfied.



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               20.   Under Paragraphs 6, 7, and 42 of the ABM Subcontract, and in the

ABM Affidavit And Release, ABM has waived, released, and forfeited any right to

payment of amounts demanded by ABM.

               21.   Under Paragraph 44 of the ABM Subcontract, Doster is entitled to

recover from ABM all of Doster’s costs and expenses in connection with this

action, including reasonable attorneys’ fees.

                                            Relief Requested

               Based on Paragraphs 1 through 21 above, Doster respectfully demands a

judgment against ABM:

               A.    Determining and declaring the amount of costs, expenses, and

damages for which ABM is liable to Doster;

               B.    Determining and declaring that no additional payment is due from

Doster to ABM under or in connection with the ABM Subcontract;

               C.    Determining and declaring that ABM is liable to Doster for, and shall

pay to Doster, all costs and expenses incurred by Doster in connection with this

action, including, but not limited to, reasonable attorneys’ fees; and

               D.    Granting to Doster such further and different relief as the Court deems

just.




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                                        /s/ R. Carlton Smyly
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PURSUANT TO ALA. R. CIV. P. 4(i)(2) and FED. R. CIV. P. 4(e)(1) &
4(h)(1)(A), PLAINTIFF REQUESTS SERVICE BY CERTIFIED MAIL ON
THE DEFENDANT AS FOLLOWS:
      ABM Stucco, Inc.
      c/o Amy Miller, Registered Agent
      4319 Culbreath Road
      Valrico, Florida 33596




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